Case 1:21-cv-10417-RWZ Document 26-4 Filed 02/04/22 Page 1 of 5




                      Exhibit D
        Case 1:21-cv-10417-RWZ Document 26-4 Filed 02/04/22 Page 2 of 5




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



 IEP Technologies, LLC,

                  Plaintiff,
                                                             Civil Action No.
             v.                                              1:21-cv-10417-RWZ

 KPM Analytics, Incorporated f/k/a Statera Analytics
 Incorporated and KPM Analytics North America
 Corporation f/k/a Process Sensors Corporation,

                  Defendants.



                    DEFENDANTS’ RESPONSES AND OBJECTIONS
            TO PLAINTIFF’S THIRD SET OF INTERROGATORIES (NOS. 10-12)

       Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendants KPM Analytics,

Incorporated f/k/a Statera Analytics Incorporated and KPM Analytics North America Corporation

f/k/a Process Sensors Corporation (collectively, “Defendants”) hereby respond to Plaintiff IEP

Technologies, LLC’s (“Plaintiff”) third Set of Interrogatories.

                                    GENERAL OBJECTIONS

       1.         Defendants object to the Interrogatories, Definitions, Rules of Construction, and

Instructions to the extent that they seek information, documents or things that are neither

relevant to any claim or defense of any party or the subject matter involved in this action, not

reasonably calculated to lead to the discovery of admissible evidence in this matter, not

proportional to the needs of this action, and assume facts not in evidence.

       2.         Defendants object to the Interrogatories, Definitions, Rules of Construction, and

Instructions to the extent they seek information, documents or things protected by the attorney-

client privilege, work product immunity, common interest privilege, or any other applicable

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        Case 1:21-cv-10417-RWZ Document 26-4 Filed 02/04/22 Page 3 of 5

                 CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                    SUBJECT TO PROTECTIVE ORDER [DOC. 18]
RESPONSE TO INTERROGATORY NO. 12

       Defendants specifically incorporate by reference their General Objections and

Objections to Definitions, Rules of Construction, and Instructions as if set forth herein.

Defendants further object to this Interrogatory to the extent that it seeks information protected

under the attorney-client privilege, the attorney work product doctrine, or any other applicable

privilege or doctrine. Defendants further object to this Interrogatory on the grounds that it is

indefinite and vague and ambiguous to the extent that it recites “Defendants’ Marks,” which is

an undefined term. Defendants further object to this Interrogatory on the grounds that it is

indefinite and vague and ambiguous to the extent that it recites “identify tall trade fairs, trade

shows, trade exhibitions, and trade expos ... ,” because this statement is unintelligible when

applying Plaintiff’s definitions and/or the Court’s definition of “identify.” Defendants further

object to this Interrogatory on the grounds that it is overly broad, unduly burdensome, and

seeks information not relevant to the parties’ claims or defenses to the extent that it seeks

information regarding activity outside of the United States and/or activity unrelated to the use

of Defendant’s mark(s). Defendants further object to this Interrogatory on the grounds that it

is vague and ambiguous and unduly burdensome to the extent that it recites “explain why

Defendants chose that trade show.”

       Subject to and without waiving any of their objections, and to the extent they

understand this Interrogatory, Defendants state as follows, with the Response being designated

HIGHLY CONFIDENTIAL pursuant to the parties’ Stipulated Protective Order (Doc. 18): In

2018, Defendants attended a LabelExpo conference at least to promote their GUARDIAN

scanning systems and fixed on-line sensor products. In 2018, 2019, and 2021, Defendants

attended PackExpo conferences at least to promote their GUARDIAN scanning systems,

QUIKCHECK systems, and on-line sensor products. In 2018, 2019, and 2020, Defendants

                                                 10
      Case 1:21-cv-10417-RWZ Document 26-4 Filed 02/04/22 Page 4 of 5




Date: January 18, 2022              As to the objections,


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                                    12
        Case 1:21-cv-10417-RWZ Document 26-4 Filed 02/04/22 Page 5 of 5




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 IEP Technologies, LLC,

                Plaintiff,
                                                          Civil Action No.
           v.                                             1:21-cv-10417-RWZ

 KPM Analytics, Incorporated f/k/a Statera Analytics
 Incorporated and KPM Analytics North America
 Corporation f/k/a Process Sensors Corporation,

                Defendants.


                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 18, 2022, the foregoing DEFENDANTS’ RESPONSES

AND OBJECTIONS TO PLAINTIFF’S THIRD INTERROGATORIES (NOS. 10-12) was served

via e-mail upon counsel of record for Plaintiff pursuant to prior written agreement of the parties

recorded in the parties’ Rule 16(d) Joint Report in accord with Fed. R. Civ. P. 5(b)(2)(E):

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                                                     /s/ Robert D. Gravois
                                                     Robert D. Gravois
                                                     Counsel for Defendants




                                                13
